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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                  Holding a Criminal Term

                          Grand Jury Sworn in on January 8, 2021

 UNITED STATES OF AMERICA                       :    CRIMINAL NO. 21-CR-006 (TJK)
                                                :
             v.                                 :
                                                :    VIOLATIONS:
 DOUGLAS AUSTIN JENSEN,                         :    18 U.S.C. § 231(a)(3)
                                                :    (Civil Disorder)
                   Defendant.                   :    18 U.S.C. §§ 1512(c)(2), 2
                                                :    (Obstruction of an Official Proceeding)
                                                :    18 U.S.C. § 111(a)(1)
                                                :    (Assaulting, Resisting, or Impeding
                                                :    Certain Officers)
                                                :    18 U.S.C. § 1752(a)(1) and (b)(1)(A)
                                                :    (Entering and Remaining in a Restricted
                                                :    Building or Grounds with a Deadly or
                                                :    Dangerous Weapon)
                                                :    18 U.S.C. § 1752(a)(2) and (b)(1)(A)
                                                :    (Disorderly and Disruptive Conduct in a
                                                :    Restricted Building or Grounds with a
                                                :    Deadly or Dangerous Weapon)
                                                :    40 U.S.C. § 5104(e)(2)(D)
                                                :    (Disorderly Conduct in
                                                :    a Capitol Building)
                                                :    40 U.S.C. § 5104(e)(2)(G)
                                                :    (Parading, Demonstrating, or Picketing in
                                                :    a Capitol Building)

                                      INDICTMENT

       The Grand Jury charges that:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN

JENSEN, committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer, that is, Officer E.G., an officer from the United States Capitol Police

Department, lawfully engaged in the lawful performance of his/her official duties incident to and
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during the commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely

affected the conduct and performance of a federally protected function.

          (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

                                           COUNT TWO

          On or about January 6, 2021, within the District of Columbia and elsewhere, DOUGLAS

AUSTIN JENSEN, attempted to, and did, corruptly obstruct, influence, and impede an official

proceeding, that is, a proceeding before Congress, by entering and remaining in the United States

Capitol without authority and Committing an act of civil disorder, and harassing Capitol Police

officers, and threatening Congressional officials, and engaging in disorderly and disruptive

conduct and destroying federal property.

          (Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
          18, United States Code, Sections 1512(c)(2) and 2)

                                          COUNT THREE

          On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN

JENSEN, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer

and employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), that is, E.G. an officer from the United States Capitol

Police Department, while such person was engaged in and on account of the performance of

official duties, and where the acts in violation of this section involve the intent to commit another

felony.

          (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
          States Code, Section 111(a)(1))
                                           COUNT FOUR

          On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN

JENSEN, did unlawfully and knowingly enter and remain in a restricted building and grounds,

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that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol

and its grounds, where the Vice President and Vice President-elect were temporarily visiting,

without lawful authority to do so, and, during and in relation to the offense, did use and carry a

deadly and dangerous weapon, that is, a knife.

       (Entering and Remaining in a Restricted Building or Grounds with a Deadly or
       Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
       (b)(1)(A))
                                         COUNT FIVE

       On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN

JENSEN, did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

and Vice President-elect were temporarily visiting, when and so that such conduct did in fact

impede and disrupt the orderly conduct of Government business and official functions and, during

and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a knife.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
       Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
       1752(a)(2) and (b)(1)(A))

                                          COUNT SIX

       On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN

JENSEN, willfully and knowingly engaged in disorderly and disruptive conduct in any of the

Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session




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of Congress and either House of Congress, and the orderly conduct in that building of a hearing

before or any deliberation of, a committee of Congress or either House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                       COUNT SEVEN

       On or about January 6, 2021, within the District of Columbia DOUGLAS AUSTIN

JENSEN, willfully and knowingly paraded, demonstrated, and picketed in any United States

Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                            A TRUE BILL:



                                            FOREPERSON.




Attorney of the United States in
and for the District of Columbia.




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